 I
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 6         Attorneys for Plaintiff KURT
           ANTHONY MILLER
 I
                             IN THE UNITED STATES BANKRUPTCY COURT
 8
                FOR THE NORTHERN DISTRICT OF CALIFORNIA.SAN JOSE DIVISION
 9

 10                                                      Case No. 18-51575 MEH
           GLORIA CABRAL,
                                                         Chapter 13
 11
                         Debtor.                         Adv. Pro. No. 18-05055
 I2

     I3
            KURT ANTHONY MILLER,
     14
                                                         SUBSTITUTION OF ATTORNEY
                         Plaintiff,                      (Party Now Representing Self)
     l)



     I7     GLORIA CABRAL,
     18
                          Defendant.
     19

     ZU
                  TO THE COURT AND ALL PARTIES ARE NOTIFIED THAT plaintiff KURT
     2l
            MILLER (plaintffi) makes the following substitution as of Friday, November 23,2018:
     22

     z)           1. Former Leqal Representative:    Steven J. Sibley, John E.F. DiNapoli, dba

     1A     DiNapoli & Sibley

     25           2. New Leqal Reoresentative:     Kurt Miller, representing self. Address: 1405-
     zo
            647 Michigan Street, Victoria, B.C. V8V1S9. Tel. No. (206) 787-2615.
     2'7
                   3. The party making this substitution is Moving PaO Creditor KURT MILLER.
     28




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 1
                 4. The Creditor Moving    ParW and the former legal representative both consent
 2

 a
          to this substitution.
 J
          PLAINTIFF KURT MILLER                            STEVEN J. SIBLEY
 4

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 I
          KURT MILLER

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          Dated:                                           Dated: t
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